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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA



 JOHN STEWART,

 Plaintiff,


 vs.                                            Case No.: 10-62330-CV-LENARD/TURNOFF
 ENHANCED RECOVERY COMPANY,
 LLC,

 Defendant.
 ___________________________________/


                   PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
                                 WITH PREJUDICE

         Having amicably resolved all matters in controversy and pursuant to Federal Rule of

 Civil Procedure 41(a)(1)(i), Plaintiff voluntary dismisses this action with prejudice.



 Dated: February 28, 2011                      Respectfully submitted,


                                               /s Andrew I. Glenn
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